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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

UNITED STATES OF AMERICA

      vs.                                  Criminal Action 2:21-cr-041(3)
                                           JUDGE MICHAEL H. WATSON
DAWIT BEYENE MANAY

                          REPORT AND RECOMMENDATION

      Defendant Dawit Beyene Manay previously pleaded not guilty to a
Superseding Indictment charging him with conspiracy to distribute and
to possess with intent to distribute 50 grams or more of
methamphetamine and 40 grams or more a mixture or substance containing
a detectable amount of fentanyl, in violation of 21 U.S.C. § 846.
Superseding Indictment, ECF No. 40. Defendant and the United States
thereafter entered into a plea agreement, executed under the
provisions of Rule 11(c)(1)(A) of the Federal Rules of Criminal
Procedure, whereby defendant agreed to plead guilty to that charge.1
On October 20, 2021, defendant, assisted by his counsel, participated
in a change of plea proceeding.
      After being advised of his right to appear personally and with
his counsel and after consulting with his counsel, defendant consented
to appear by videoconference.
      Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.       See United States v. Cukaj, 25
Fed.Appx. 290, 291(6th Cir. 2001)(Magistrate Judge may accept a guilty



      1 Under the Plea Agreement, defendant agreed to abandon any interest
that he may have in a specified firearm, a magazine, and currency. The Plea
Agreement also includes an appellate waiver provision that preserves only
certain claims for appeal or collateral challenge. The Plea Agreement also
contains an immigration provision. However, defendant testified that he was
born in the United States and is therefore a United States citizen. His
conviction would therefore have no immigration consequences.


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plea with the express consent of the defendant and where no objection
to the report and recommendation is filed).
     During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness and was not under the influence of narcotics, other drugs, or
alcohol.
     Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.   Based on the observations of the undersigned, defendant
understands the nature and meaning of the charge in the Superseding
Indictment and the consequences of his plea of guilty to that charge.
Defendant was also addressed personally and in open court and advised
of each of the rights referred to in Rule 11 of the Federal Rules of
Criminal Procedure.
     Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.       Defendant acknowledged
that the Plea Agreement contains the only promises made by anyone
regarding the charge in the Superseding Indictment.        Defendant was
advised that the District Judge may accept or reject the plea
agreement and that all sentencing terms will be determined by the
District Judge. Defendant was further advised that, even if the
District Judge refuses to accept any provision of the plea agreement
not binding on the Court or if the sentence imposed is more severe
than the sentence defendant expected, defendant may nevertheless not
withdraw his guilty plea.
     Defendant confirmed the accuracy of the statement of facts
supporting the charge.    He confirmed that he is pleading guilty to
Count 1 of the Superseding Indictment because he is in fact guilty of
that offense.   The Court concludes that there is a factual basis for
the plea.
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     The Court concludes that defendant’s plea of guilty to Count 1 of
the Superseding Indictment is knowingly and voluntarily made with
understanding of the nature and meaning of the charge and of the
consequences of the plea.
     It is therefore RECOMMENDED that defendant’s guilty plea to Count
1 of the Superseding Indictment be accepted.         Decision on acceptance
or rejection of the plea agreement was deferred for consideration by
the District Judge after the preparation of a presentence
investigation report.
     In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.         Objections to the
presentence report must be made in accordance with the rules of this
Court.
     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.          28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).      Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.    F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See United States v. Wandahsega, 924 F.3d 868, 878 (6th Cir. 2019);
Thomas v. Arn, 474 U.S. 140 (1985).




October 20, 2021                                s/    Norah McCann King

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Date                                           Norah McCann King
                                         United States Magistrate Judge
